      Case 2:23-cv-02224-MSN-atc           Document 279-3        Filed 01/10/25       Page 1 of 8
                                            PageID 3516



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY       )
 AND AS ADMINISTRATRIX OF THE         )
 ESTATE OF TYRE DEANDRE NICHOLS,      )
 DECEASED,                            )
                                      )
       Plaintiffs,                    )
                                      )
 v.                                   )                     CASE NO. 2:23-CV-02224
                                      )                     JURY DEMAND
 THE CITY OF MEMPHIS, A MUNICIPALITY; )
 CHIEF CERELYN DAVIS, IN HER OFFICIAL )
 CAPACITY; EMMITT MARTIN III, IN HIS  )
 INDIVIDUAL CAPACITY; DEMETRIUS       )
 HALEY, IN HIS INDIVIDUAL CAPACITY;   )
 JUSTIN SMITH, IN HIS INDIVIDUAL      )
 CAPACITY; DESMOND MILLS, JR. IN HIS  )
 INDIVIDUAL CAPACITY; TADARRIUS       )
 BEAN, IN HIS INDIVIDUAL CAPACITY;    )
 PRESTON HEMPHILL, IN HIS INDIVIDUAL  )
 CAPACITY; ROBERT LONG, IN HIS        )
 INDIVIDUAL CAPACITY; JAMICHAEL       )
 SANDRIDGE, IN HIS INDIVIDUAL         )
 CAPACITY; MICHELLE WHITAKER, IN HER )
 INDIVIDUAL CAPACITY; DEWAYNE         )
 SMITH, IN HIS INDIVIDUAL CAPACITY    )
 AND AS AGENT OF THE CITY OF          )
 MEMPHIS,                             )
                                      )
       Defendants.                    )


                  DEFENDANT THE CITY OF MEMPHIS’ RESPONSES TO
                  PLAINTIFF’S FOURTH REQUESTS FOR PRODUCTION


         Defendant the City of Memphis (“the City”), pursuant to Rule 34 of the Federal Rules of

Civil Procedure, responds to Plaintiff’s Fourth Requests for Production as follows:

         The City reserves the right to amend or supplement these responses as additional information

become available through discovery and/or expert opinion or otherwise.
                                               1

4876-0636-1561
      Case 2:23-cv-02224-MSN-atc           Document 279-3        Filed 01/10/25      Page 2 of 8
                                            PageID 3517



         All Bates Numbers listed in this document refer to the beginning Bates Number of the

document unless specifically noted otherwise.

                 RESPONSES TO FOURTH REQUESTS FOR PRODUCTION

         102.    Produce any and all Memphis City Council committee minutes, memorandum,

recordings, video, notes, bulletins, and/or documentation created during and/or related to the hiring

of Cerelyn Davis from April 2020 to April 2021.

         RESPONSE: Upon a diligent search and inquiry, the City states that it does not have any

responsive documents for the period identified. The City has identified Bates Nos. COM_0063836

and COM_0063852, which are meeting minutes and an agenda from the May 4, 2021 City Council

meeting reflecting the appointment of Chief Davis. The video from the same May 4, 2021 meeting

is available at this link: https://memphis.granicus.com/player/clip/8304?view_id=6&redirect=true.

         103.    Produce any and all Memphis City Council committee minutes, memorandum,

recordings, video, notes, bulletins, and/or documentation created during and/or related to the

Memphis City Council Public Safety Committee Meeting on December 6, 2022.

         RESPONSE: The City identifies Bates Nos. COM_0063824 and COM_0063684. The

requested video is available at this link: https://memphis.granicus.com/player/clip/9207.

         104.    Produce an accounting of the City of Memphis Fiscal Year 2023, 2024, and 2025

“Rainy Day” fund budget, including the balance of that fund at the beginning of each fiscal year, the

balance of that fund at the end of each fiscal year, and how the used funds were allocated each year.

         RESPONSE: The City objects to this Request as not reasonably calculated to lead to relevant

evidence. The City further objects on the basis that the request is overbroad and not proportional to

the needs of this case. The City further objects to this Request on the basis that the term “Rainy Day

fund” is vague and undefined. The City is withholding documents potentially responsive to this

Request.
                                                  2

4876-0636-1561
      Case 2:23-cv-02224-MSN-atc             Document 279-3          Filed 01/10/25     Page 3 of 8
                                              PageID 3518



         105.    Produce all records documenting Memphis Fire Department ambulance response

times, inclusive of all documents and/or other records that describe the reason for ambulance

dispatch, from January 1, 2018 – January 10, 2023.

         RESPONSE: The City identifies Bates No. COM_0059788. The City states in further

response that documents responsive to this request are publicly available online at

https://data.memphistn.gov/.

         106.    Produce all records concerning additional training or policies provided to

SCORPION Unit officers when those officers were assigned from other Memphis Police Department

units to the SCORPION unit, including but not limited to additional training in high-risk traffic stops,

response to resistance, lawful search and seizure, handcuffing, pursuits, and use of excessive force /

unnecessary force and any list of training courses required for new SCORPION Unit members.

         RESPONSE: The City             identifies   Bates   Nos.    COM_0047044,      COM_0047162,

COM_0047169,           COM_0047192,         COM_0047211,            COM_0047222,        COM_0047253,

COM_0047255, COM_0047260, COM_0047264, and COM_0048088–0048094.

         107.    Produce all of the submitted Blue Team Reports corresponding to the Response to

Resistance incidents listed on the Response to Resistance Log, COM_0039523 – 0039527, and

corresponding to the Response to Resistance Forms, COM_0038650 – 0039522 (produced by City

of Memphis to Plaintiff on June 20, 2024).

         RESPONSE: The City objects on the ground that the term “Blue Team Reports” is

undefined. The City is potentially withholding documents responsive to this Request.

         108.    Produce all excessive force civilian or administrative (as defined by section 1.3 in the

ISB Standard Operating Procedures 2023) complaints filed against Memphis Police Department

SCORPION Unit Officers from November 1, 2021 through January 10, 2023, and any corresponding


                                                     3

4876-0636-1561
      Case 2:23-cv-02224-MSN-atc             Document 279-3        Filed 01/10/25       Page 4 of 8
                                              PageID 3519



records and/or reports of ISB Investigations into those complaints.

           RESPONSE: The City will produce ISB files responsive to this Request in an upcoming

 production. The City will provide an updated production inventory with Bates Numbers at that time.

         109.    Produce all excessive force civilian or administrative (as defined by section 1.3 in the

ISB Standard Operating Procedures 2023) complaints filed against any Memphis Police Department

Organized Crime Unit Officers from January 1, 2018 through January 10, 2023 and any

corresponding records and/or reports of ISB Investigations into those complaints.

         RESPONSE: The City objects to this request on the ground that is overbroad. Subject to and

without waiving said objection, the City will produce ISB files for excessive force complaints filed

against OCU officers from January 1, 2021 through January 10, 2023. The City will provide an

updated production inventory with Bates Numbers at that time.

         110.    Produce all Memphis Police Department excessive force complaints and ISB

Security Squad Investigations referred to the Shelby County District Attorney’s Office for review

from January 1, 2018 through January 10, 2023.

         RESPONSE: The City objects to this request on the ground that is overbroad. Subject to and

without waiving said objection, the City is producing excessive force complaints and ISB Security

Squad Investigations referred to the Shelby County District Attorney’s Office for review from

January 1, 2021 through January 10, 2023. The City identifies Bates Nos. COM_0059906,

COM_0059960,           COM_0060101,         COM_0060232,          COM_0060474,          COM_0060728,

COM_0060814,           COM_0060861,         COM_0061015,          COM_0061150,          COM_0061336,

COM_0061516,           COM_0061657,         COM_0061832,          COM_0061917,          COM_0062072,

COM_0062245,           COM_0062347,         COM_0062521,          COM_0062734,          COM_0062864,

COM_0063068, COM_0063214, COM_0063458, and COM_0063572.


                                                    4

4876-0636-1561
      Case 2:23-cv-02224-MSN-atc           Document 279-3         Filed 01/10/25   Page 5 of 8
                                            PageID 3520



         111.    Produce all monthly reports furnished to the Commission on Accreditation for Law

Enforcement Agencies (CALEA) responsive to their April 6, 2023 suspension notice. See

COM_0044372, COM_0044373.

         RESPONSE: The City identifies            Bates   Nos.    COM_0058153,     COM_0058195,

COM_0058224,          COM_0058382,        COM_0058712,           COM_0058751,      COM_0058781.

COM_0058875,          COM_0058902,        COM_0059082,           COM_0059158,      COM_0059388,

COM_0059556, COM_0059703, and COM_0059745.

         112.    Produce any and all internal Memphis Police Department memorandum, bulletins,

emails, notes, or documents regarding the Memphis Police Department’s CALEA suspension notice

on April 6, 2023.

         RESPONSE: The City identifies Bates Nos. COM_0059082 and COM_0059806.

         113.    Produce any and all internal Memphis Police Department memorandum, bulletins,

emails, notes, or documents regarding the creation of the SCORPION Unit, including but not limited

to all Memphis Police Department bulletins dated November 12, 2021.

         RESPONSE: The City objects to this Request to the extent that it seek documents protected

by attorney-client privilege. The City is withholding documents to this Request, and the City will

include those documents in an updated privilege log. Subject to and without waiving said objection,

the City identifies Bates Nos. COM_0057637, COM_0057795, COM_0058133, COM_0058134,

COM_0058143,        COM_0058144,       COM_0058145,       COM_0058146,       COM_0058151,       and

COM_0058318.

         114.    Produce all police reports pertaining to Memphis Police Department officers’

encounter with Merico Coleman in 2022.

         RESPONSE: The City objects to this Request as not reasonably calculated to lead to relevant


                                                  5

4876-0636-1561
      Case 2:23-cv-02224-MSN-atc              Document 279-3        Filed 01/10/25     Page 6 of 8
                                               PageID 3521



evidence. Subject to and without waiving said objection, the City states that, upon a diligent search

and inquiry, it does not have documents responsive to this Request.

         115.      Produce all MPD disciplinary records pertaining to the incident referenced in Request

No. 114.

         RESPONSE: The City objects to this Request as not reasonably calculated to lead to relevant

evidence. Subject to and without waiving said objection, the City states that, upon a diligent search

and inquiry, it does not have documents responsive to this Request.

         116.      Produce all MPD Policy and Procedure handbooks produced or edited since January

1, 2023, including but not limited to the handbook draft shared with MPD employees on July 5,

2024.

         RESPONSE: The City identifies Bates Nos.:

         •       COM_0007847–COM_0008129                 •   COM_0058135
         •       COM_0008174–COM_0008495                 •   COM_0058152
         •       COM_0008535–COM_0008885                 •   COM_0058176–COM_0058187
         •       COM_0008890–COM_0008936                 •   COM_0058213
         •       COM_0009100–COM_0009342                 •   COM_0058216
         •       COM_0009875                             •   COM_0058254–COM_0058305
         •       COM_0009901                             •   COM_0058320–COM_0058374
         •       COM_0009912                             •   COM_0058407–COM_0058547
         •       COM_0009972                             •   COM_0058551–COM_0058693
         •       COM_0009990                             •   COM_0058805–COM_0058846
         •       COM_0010004                             •   COM_0058939–COM_0059073
         •       COM_0016923                             •   COM_0059107–COM_0059155
         •       COM_0017731                             •   COM_0059202–COM_0059222
         •       COM_0017759                             •   COM_0059266–COM_0059375
         •       COM_0017809                             •   COM_0059408–COM_0059553
         •       COM_0017982                             •   COM_0059595
         •       COM_0018042                             •   COM_0059623
         •       COM_0018439                             •   COM_0059682
         •       COM_0032514                             •   COM_0059730–COM_0059740
         •       COM_0032515                             •   COM_0059789
         •       COM_0032520                             •   COM_0059791
         •       COM_0038642                             •   COM_0059807–COM_0059889

                                                     6

4876-0636-1561
      Case 2:23-cv-02224-MSN-atc               Document 279-3         Filed 01/10/25      Page 7 of 8
                                                PageID 3522




         117.       Produce any and all civilian or administrative complaints, ISB Investigations, or other

documents regarding excessive force by SCORPION Unit Officers that were made after the incident

involving Tyre Nichols was made public.

           RESPONSE: The City will produce ISB files responsive to this Request in an upcoming

production. The City will provide an updated production inventory with Bates Numbers at that time.

         118.       Produce for inspection all documents or other items produced to or made available

for inspection by all news outlets through Public Records Requests pertaining to the MPD

SCORPION Unit, including but not limited to WMC Action News Five, WATN, ABC 24, FOX 13,

The Daily Memphian, and the Commercial Appeal. These documents include but are not limited to:

                 a. the 126 excessive force complaints provided to WMC Action News Five from the
                    period 2015 to 2019 that were referenced in the November 19, 2020 news article The
                    Investigators: MPD excessive force complaints rarely get more than an internal
                    review      written      by      Jessica      Jaglois    and      available     at
                    https://www.actionnews5.com/2020/11/19/investigators-mpd-excessive-force-
                    complaints-rarely-get-more-than-an-internal-review/ and

                 b. the documents provided for the July 5, 2024 news article Internal documents raise
                    questions on creation of MPD’s SCORPION unit, CJ Davis’s Statements written by
                    Ben               Wheeler               and              available             at
                    https://www.localmemphis.com/article/news/local/internal-documents-raise-
                    questions-on-memphis-police-scorpion-unit-cj-davis-statements/522-e4346729-
                    3936-486e-b5cb-4b352e300836.

         RESPONSE: The City objects to this Request as unduly burdensome and not proportional

to the needs of this case. Subject to and without waiving said objection, under Rule 34, the City is

willing to make available for inspection excessive force complaints from the time period at issue in

this litigation, which is mid-2021 through January 2023, at a mutually agreeable time. Moreover,

the City states in further response that, upon a diligent search and inquiry, it does not have documents

responsive to subsection (b) of this Request.



                                                       7

4876-0636-1561
      Case 2:23-cv-02224-MSN-atc          Document 279-3        Filed 01/10/25     Page 8 of 8
                                           PageID 3523



                                                     Respectfully submitted,

                                                     BAKER, DONELSON, BEARMAN,
                                                     CALDWELL & BERKOWITZ, P.C.


                                                     s/ Bruce McMullen
                                                     Bruce McMullen (#18126)
                                                     Jennie Vee Silk (#35319)
                                                     Freeman B. Foster (#23265)
                                                     165 Madison Avenue, Suite 2000
                                                     Memphis, Tennessee 38103
                                                     Telephone: (901) 526-2000
                                                     bmcmullen@bakerdonelson.com
                                                     jsilk@bakerdonelson.com
                                                     ffoster@bakerdonelson.com

                                                     Attorneys for Defendant City of Memphis,
                                                     Chief Cerelyn Davis in her Official Capacity,
                                                     and Dewayne Smith as Agent of the City of
                                                     Memphis




                                    CERTIFICATE OF SERVICE

         I hereby certify that on October 15, 2024, a copy of the foregoing document was served on

all counsel of record via e-mail:

                                                     s/ Bruce McMullen




                                                 8

4876-0636-1561
